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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION

DAVID K. HICKS,

              Plaintiff,
                                               Case No. 1:22-cv-426
      v.                                       JUDGE DOUGLAS R. COLE

CHARTER COMMUNICATIONS, INC.,

              Defendant.

                                      ORDER

      The Court, upon review of the record, notes that the above-styled case was

erroneously filed in the Western Division of the Southern District of Ohio at

Cincinnati.

      The case is hereby TRANSFERRED from the docket of the Honorable

Douglas R. Cole to the Office of the Clerk for reassignment to the Western Division

of the Southern District of Ohio at Dayton.

      SO ORDERED.


July 25, 2022
DATE                                          DOUGLAS R. COLE
                                              UNITED STATES DISTRICT JUDGE
